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                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4                                       RELATED CASE ORDER

                                   5
                                              A Motion for Administrative Relief to Consider Whether Cases Should be Related or a Sua
                                   6   Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been filed.
                                   7   The time for filing an opposition or statement of support has passed. As the judge assigned to case

                                   8            22-cv-03580-WHO

                                   9            Doe v. Meta Platforms, Inc.
                                  10
                                       I find that the more recently filed case that I have initialed below is related to the case assigned to
                                  11   me, and such case shall be reassigned to me. Any cases listed below that are not related to the
                                       case assigned to me are referred to the judge assigned to the next-earliest filed case for a related
                                  12   case determination.
Northern District of California
 United States District Court




                                  13
                                           Case                   Title                      Related            Not Related
                                  14
                                           22-cv-09199-JCS        C.C. v. Meta Platforms     XX
                                  15                              Inc., et al.

                                  16
                                                                                      ORDER
                                  17
                                              Counsel are instructed that all future filings in any reassigned case are to bear the initials of
                                  18   the newly assigned judge immediately after the case number. Any case management conference in
                                  19   any reassigned case will be rescheduled by the Court. The parties shall adjust the dates for the
                                       conference, disclosures and report required by Federal Rules of Civil Procedure 16 and 26
                                  20   accordingly. Unless otherwise ordered, any dates for hearing noticed motions are vacated and
                                       must be re-noticed by the moving party before the newly assigned judge; any deadlines set by the
                                  21   ADR Local Rules remain in effect; and any deadlines established in a case management order
                                       continue to govern, except dates for appearance in court, which will be rescheduled by the newly
                                  22
                                       assigned judge.
                                  23          IT IS SO ORDERED.
                                  24   Dated: January 10, 2023
                                  25                                                     ______________________________________
                                  26                                                     WILLIAM H. ORRICK
                                                                                         United States District Judge
                                  27

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